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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

In re:                                   )
                                         )
INFOW, LLC                               )   Case No. 22 - _60020________
                                         )
             Debtor.                     )   Chapter 11 (Subchapter V)
In re:                                   )
                                         )
IWHEALTH, LLC                            )   Case No. 22 - _60021_____
                                         )
             Debtor.                     )   Chapter 11 (Subchapter V)
In re:                                   )
                                         )
PRISON PLANET TV, LLC                    )   Case No. 22 - _60022_______
                                         )
             Debtor.                     )   Chapter 11 (Subchapter V)




DEBTORS’ EMERGENCY MOTION TO (A) EXTEND ANSWER DATE, (B) EXTEND
   EXHIBIT DESIGNATION DATE, (C) TOLL DISCOVERY DEADLINES, (D)
   CONTINUE HEARING DATE ON MOTIONS TO DISMISS AND (E) GRANT
                         RELATED RELIEF
                       [Relates to DKT. 36, 42 and 59)
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THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS
SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS
THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

EMERGENCY RELIEF HAS BEEN REQUESTED AND IF THE COURT CONSIDERS THIS
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN TWENTY-
ONE (21) DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF, OR IF YOU
BELIEVE THAT EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

RELIEF IS REQUESTED ON OR BEFORE MAY 20, 2022.


       InfoW, LLC (“InfoW”), IWHealth, LLC (“IW Health”), and Prison Planet TV, LLC

(“Prison Planet TV”, and together with InfoW and IW Health, the “Debtors”), the debtors and

debtors-in-possession in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), hereby

move for entry of an order substantially in the form attached hereto (the “Proposed Order”)

pursuant to sections 105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rule

7016(b)(4) of the Federal Rules of Civil Procedure continuing deadlines and hearing date on the

motions to dismiss.

                         REQUEST FOR EMERGENCY HEARING

       1.      The Debtors seek emergency consideration of this Motion on or before May 20,

2022, or as soon after as the Court’s schedule will allow. Responses to three (3) Motions to Dismiss

Chapter 11 Cases are due on May 20, 2022, which may not be necessary, if the withdrawal of

claims by the Texas and Connecticut Plaintiffs can be accomplished by the parties, and the U. S.


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Trustee’s Motion to Dismiss may also be obviated based on the evaluation of the remaining claims

by the Chief Restructuring Officer prior to the continued hearing date.

                                         JURISDICTION

       2.        The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This matter is a core

proceeding under 28 U.S.C. § 157(b)(2)(A). Venue is proper before this Court pursuant to 28

U.S.C. § 1408.

       3.        The bases for the relief requested herein is section 105 of title 11 of the United

States Code (the “Bankruptcy Code”) and the applicable Federal and Bankruptcy Rules of

Procedure, including Fed. R. Civ. P. 16(b)(4).

                                         BACKGROUND

   A. Case Background

       4.        On April 18, 2022 (the “Petition Date”), each of the Debtors commenced a case by

filing a petition for relief under chapter 11, subchapter v, of the Bankruptcy Code (collectively,

the “Chapter 11 Cases”).

       5.        As of the filing of this Motion, no creditors’ committee has been appointed in the

Chapter 11 Cases by the Office of the United States Trustee for Region 7 (the “U.S. Trustee”).

       6.        Melissa A. Haselden is the Subchapter v Trustee of the Debtors. Dkt. 12.

   B. Motions to Dismiss Bankruptcy Cases

       7.        On April 26, 2022, David Wheeler, Francine Wheeler, Jacqueline Barden, Mark

Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M.

Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker (collectively,

the “Connecticut Plaintiffs”) filed their Emergency Motion to Dismiss Chapter 11 Cases and



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Objection to Debtors’ Designation as Subchapter V Small Vendors, Dkt. 36 (“Connecticut

Plaintiffs MTD”).

       8.      On April 27, 2022, Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La

Rosa, and Marcel Fontaine (collectively, the “Texas Litigation Plaintiffs”) (a) joined the

Connecticut Plaintiffs’ Emergency Motion to Dismiss Chapter 11 Cases and Objection to Debtor’s

Designation as Subchapter V Small Vendors Dkt. 36 (the “Connecticut Motion”); and (b) filed

their Supplemental Motion to Dismiss Petition, Dkt. 42 (the “Texas Plaintiffs MTD”).

       9.      On April 29, 2022, the United States Trustee filed its Motion to Dismiss Case, Dkt.

50 (“US Trustee MTD”). The three (3) motions to dismiss shall hereinafter be referred to as

Motions to Dismiss.

       10.     Since then, the Court established a) May 20, 2022 as the deadline to answer or

respond to the Motions to Dismiss (“Original Answer Date”); b) May 25, 2022 as the date for

submission of exhibits to be used at hearing on the Motions to Dismiss (“Original Exhibit

Designation Date”); c) May 27, 2022, 9:00 a.m. as the date for hearing on the Motions to Dismiss

(“Original Hearing Date”). The parties were allowed to undertake discovery among each other on

a voluntary basis.

   C. Key Developments in the Bankruptcy Cases

       11.     The Texas and Connecticut Plaintiffs have stated that they do not want to be

creditors of the Debtors.

       12.     The Debtors and the Plaintiffs have been discussing and implementing the

withdrawal of claims and dismissals with prejudice of the three debtors from the underlying state

court suits in Texas and Connecticut.

       13.     The Texas Plaintiffs and the Debtors have exchanged Stipulations and hope to reach

agreement, which will allow them to submit the Stipulations to this Court for approval.

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       14.      The Connecticut Plaintiffs are proceeding by way of motion in the Connecticut

Bankruptcy Court, where the state court lawsuits involving the debtors were removed on the

Petition Date. The Connecticut Bankruptcy Court has scheduled a Status Conference on remand

matters for Tuesday May 24, 2022.

       15.      Even after the withdrawal of the claims of the Texas and Connecticut Plaintiffs

from the Debtors’ estates, the U.S Trustee has announced his intention to proceed with his Motion

to Dismiss. Discovery against the Debtors has been sought by the U.S. Trustee for the week of

May 23, 2022.

       16.      After the complete withdrawal of claims by the Texas and Connecticut Plaintiffs,

the three debtors still have a number of creditors that must be treated. Marc Schwartz, the proposed

Chief Restructuring Officer, has not yet had a chance to focus on the remaining creditors. He

intends to turn his attention to determine how best to resolve them as soon as he finalizes the

agreements with the Texas and Connecticut Plaintiffs.

       17.      The CRO has several options on how to proceed after the claims of the Connecticut

and Texas Plaintiffs are eliminated against the Debtors. He could proceed to confirmation of a plan

by re-negotiating the Plan Support Agreement, or he could dismiss the Chapter 11 Cases, after

notice and a hearing, and handle the remaining claims outside of Chapter 11. The CRO must have

a short amount of time to analyze which option to pursue.

                                    RELIEF REQUESTED

       18.      The Debtors request that the Court enter an order substantially in the form of the

Proposed Order a) extending Original Answer Date to June 17, 2022; b) extending the Original

Exhibit Designation Date to June 22, 2022, c) continuing hearing on the Motions to Dismiss to




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June 24, 2022, or a date first available to the Court, d) and extending any discovery deadlines to

authorize parties to undertake discovery among them prior to the new hearing date.

                                       BASIS FOR RELIEF

       19.     Extending the various deadlines and continuing the Original Hearing Date on the

Motions to Dismiss until June will save the estate significant resources and eliminate waste of

estate, creditor and judicial resources.

       20.     Today, the Debtors must respond to three (3) Motions to Dismiss. Two of the

Motions to Dismiss will be withdrawn once the parties implement the agreed to dismissals with

prejudice of the Debtor defendants from the state court lawsuits. The Debtors are very close to

finalizing a Stipulation with the Texas Plaintiffs. The Debtors should have a much better idea of

where the process is after the Status Conference with the United States Bankruptcy Court for the

District of Connecticut on May 24, 2022. Requiring the Debtors to respond and answer three

Motions to Dismiss on May 20, 2022, when two of them may become moot next week, is not an

optimal use of Debtors’ limited financial resources.

       21.     Continuing the Original Hearing Date until June will also permit the CRO who has

been engulfed in evaluating the dismissals with prejudice issues to now focus on the remaining

creditors of the Debtors. The CRO will be able to evaluate either before or by the June hearing

date whether he should proceed with trying to confirm a subchapter v plan of reorganization or

handle these claims outside of bankruptcy. Again, such effort will be wise use of limited financial

resources. Such an approach will also save valuable judicial resources.

       22.     Debtors have polled the Texas and Connecticut Plaintiffs and the U.S. Trustee

regarding this Motion but did not receive a response prior to filing of the Motion from the Texas




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and Connecticut Plaintiffs. The U.S. Trustee seeks a shorter continuance than the one proposed by

the Debtors.


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                                         CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court enter an order substantially

in the form of the proposed order extending the various deadlines and continuing the hearing on

the Motions to Dismiss until no earlier than June 24 and grant such other relief.

Dated: May 18, 2022
                                                     KYUNG S. LEE PLLC

                                                     /s/Kyung S. Lee
                                                     Kyung S. Lee
                                                     TX Bar No. 12128400
                                                     Pennzoil Place
                                                     700 Milam Street, Suite 1300
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                                                     Phone: 713-301-4751

                                                     Proposed Counsel to the Debtors




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                             CERTIFICATE OF ACCURACY

      I hereby certify that the foregoing statements are true and accurate to the best of my
knowledge and belief. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).



                                                   /s/Kyung S. Lee                          .
                                                   Kyung S. Lee




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2022, a true and correct copy of the foregoing document
was served by (a) the Court’s CM/ECF system on all parties registered to receive such service, (b)
by U.S.P.S. first class mail on the parties indicated in the attached service list, and (c) the following
parties by email:

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                                                /s/ Kyung S. Lee           .
                                                Kyung S. Lee




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

    In re:                                                )
                                                          )
    INFOW, LLC, et al.,                                   )    Case No. 22 - __60021_______
                                                          )
                  Debtors.1                               )    Chapter 11 (Subchapter V)

    ORDER (A) EXTENDING ORIGINAL ANSWER DATE, (B) EXTENDING ORIGINAL
      EXHIBIT DESIGNATION DATE; (C) TOLLING DISCOVERY DEADLINES, (D)
      CONTINUING ORIGINAL HEARING DATE, AND (E) GRANTING RELATED
                                  RELIEF

             Upon the Debtors’ Emergency Motion to (A) Extend Answer Date, (B) Extend Exhibit

Designation Date, (C) Toll Discovery Deadlines, (D) Continue Hearing Date on Motion to

Dismiss and (e) Grant Related Relief (the “Motion”)2 filed on May 18, 2022; and the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. § 1334;

and consideration of the Motion and the requested relief being a core proceeding pursuant to 28

U.S.C. § 157(b); and due and proper notice of the Motion having been provided, and it appearing

that no other or further notice need be provided; and the Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor, IT IS HEREBY ORDERED THAT:

             1.    The Original Answer Date on the Motions to Dismiss be and hereby is now June

__, 2022;

             2.    The Original Exhibit Designation Date be and hereby is now June __, 2022;



1
  The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
2
  Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Application.
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       3.      Any discovery deadline in this contested matter shall be tolled and the parties shall

be entitled to take discovery from each other prior to the rescheduled hearing date;

       4.      The Original Hearing Date be and hereby is now continued until June __, 2022.

       5.      This Court shall retain exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.



       Dated: ____________________________             ___________________________________

                                              ____________________________________
                                              UNITED STATES BANKRUPTCY JUDGE




                                                 2
